7/31/23, 2:06 PM        Case MDL No. 3083 Document 104-3
                                                CM/ECF       Filed
                                                       - District      08/02/23
                                                                  of Minnesota - Live Page 1 of 60

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                                           U.S. District Court
                                    U.S. District of Minnesota (DMN)
                           CIVIL DOCKET FOR CASE #: 0:23-cv-02238-KMM-DTS


 Williams v. Pension Benefit Information, LLC et al                                Date Filed: 07/27/2023
 Assigned to: Judge Katherine M. Menendez                                          Jury Demand: Plaintiff
 Referred to: Magistrate Judge David T. Schultz                                    Nature of Suit: 380 Personal Property: Other
 Demand: $5,000,000                                                                Jurisdiction: Diversity
 Lead case: 0:23-cv-02028-KMM-DTS
 Member case: (View Member Case)
 Cause: 28:1332 Diversity-Property Damage
 Plaintiff
 Glen Williams                                                       represented by Karen Hanson Riebel
 individually and on behalf of all others                                           Lockridge Grindal Nauen PLLP
 similarly situated                                                                 100 Washington Ave S Ste 2200
                                                                                    Mpls, MN 55401-2179
                                                                                    612-339-6900
                                                                                    Fax: 612-339-0981
                                                                                    Email: Khriebel@locklaw.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                   Kate M. Baxter-Kauf
                                                                                   Lockridge Grindal Nauen PLLP
                                                                                   100 Washington Ave S Ste 2200
                                                                                   Mpls, MN 55401-2179
                                                                                   612-339-6900
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                                                                                   Email: kmbaxter-kauf@locklaw.com
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED


 V.
 Defendant
 Pension Benefit Information, LLC
 Defendant
 Berwyn Group, Inc., The
 Defendant
 Does
 1-10


  Date Filed           # Docket Text


https://ecf.mnd.uscourts.gov/cgi-bin/DktRpt.pl?117398128041553-L_1_0-1                                                        1/2
7/31/23, 2:06 PM        Case MDL No. 3083 Document 104-3
                                                CM/ECF       Filed
                                                       - District      08/02/23
                                                                  of Minnesota - Live Page 2 of 60

  07/27/2023           1 COMPLAINT against All Defendants (filing fee $ 402, receipt number AMNDC-10434181)
                         filed by Glen Williams. Filer requests summons issued. (Attachments: # 1 Civil Cover
                         Sheet) (Riebel, Karen) (Entered: 07/27/2023)
  07/27/2023           2 (Text-Only) CLERK'S NOTICE OF INITIAL CASE ASSIGNMENT. Case assigned to
                         Judge Katherine M. Menendez per Related Cases Non-MDL list, referred to Magistrate
                         Judge David T. Schultz. Please use case number 23-cv-2238 (KMM/DTS).

                            Notice: All Nongovernmental Corporate Parties must file a Rule 7.1 Corporate
                            Disclosure Statement.

                            (MMP) (Entered: 07/27/2023)
  07/27/2023           3 Summons Issued as to Berwyn Group, Inc., The, Pension Benefit Information, LLC. (MMP)
                         (Entered: 07/27/2023)
  07/27/2023           4 (Text-Only): Notice re: Non-Admitted Attorney

                            We have received documents listing Jason M. Wucetich and Dimitrios V. Korovilas as
                            counsel of record. If he or she wishes to be listed as an attorney of record in this case, he or
                            she must be admitted to the bar of the U.S. District Court of Minnesota in accordance with
                            Local Rule 83.5 (a), (b) and (c) or temporarily admitted pro hac vice in accordance with
                            Local Rule 83.5 (d) or (e).

                            For more admissions information and forms, please see the Attorney Forms Section of the
                            courts website at www.mnd.uscourts.gov/forms/all-forms. (MMP) (Entered: 07/27/2023)



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                                                     khriebel       Client Code:      01100-0001
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        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page31ofof60
                                                                       58




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MINNESOTA


GLEN WILLIAMS, individually and on CASE NO.
behalf of all others similarly situated,
                                         CLASS ACTION
                  Plaintiff,
                                         COMPLAINT FOR:
       v.
                                          (1) NEGLIGENCE
PENSION BENEFIT INFORMATION,              (2) NEGLIGENCE PER SE
LLC; THE BERWYN GROUP, INC.;              (3) DECLARATORY JUDGMENT
and DOES 1-10,                            (4) VIOLATION OF THE CAL.
                                              CONSUMER PRIVACY ACT, CAL.
                    Defendants.               CIV. CODE § 1798.150
                                          (5) VIOLATION OF THE CAL.
                                              CUSTOMER RECORDS ACT,
                                              CAL. CIV. CODE § 1798.84
                                          (6) VIOLATION OF THE CAL.
                                              UNFAIR COMPETITION LAW,
                                              CAL. BUS. & PROF. CODE § 17200
                                          (7) VIOLATION OF THE RIGHT TO
                                              PRIVACY, CAL. CONST. ART. 1, §
                                              1
                                          (8) BREACH OF IMPLIED
                                              CONTRACT
                                          (9) BREACH OF THE IMPLIED
                                              COVENANT OF GOOD FAITH
                                              AND FAIR DEALING
                                         DEMAND FOR JURY TRIAL



                             SUMMARY OF THE CASE

      1.     This putative class action arises from Pension Benefit Information, LLC’s

and The Berwyn Group, Inc.’s (hereinafter collectively “DEFENDANTS” or “PBI”)

negligent failure to implement and maintain reasonable cybersecurity procedures that

resulted in a data breach of its systems, which was discovered in May or June 2023 (the

“Data Breach”). PBI acts as a third- party provider of pension management services to

public pensions throughout the nation, including the California Public Employees’ Retire
                                          -1-
          CASE
           Case 0:23-cv-02238-KMM-DTS
                MDL No. 3083 Document 104-3
                                      Doc. 1 Filed
                                              Filed08/02/23
                                                    07/27/23 Page
                                                              Page42ofof60
                                                                         58




System (“CalPERS”) and the California Teachers’ Retirement Fund (“CalSTRS”). In

connection with the Data Breach, PBI failed to properly secure and safeguard Plaintiff’s

and Class Members’ protected personally identifiable information, including without

limitation, full names, dates of birth, and Social Security numbers (these types of

information, inter alia, being thereafter referred to, collectively, as “personal identifiable

information” or “PII”).1 The Data Breach has impacted more than 700,000 CalPERS

members and an unknown number of CalSTRS members.2 The Data Breach has also

impacted several million additional individuals nationwide for whom PBI provides

pension and insurance related services.3 Plaintiff brings this class action complaint to

redress injuries related to the Data Breach, on behalf of himself and a nationwide class

and California subclass of similarly situated persons. Plaintiff asserts claims on behalf of

a nationwide class for negligence, negligence per se, declaratory judgment, common law

invasion of privacy, breach of implied contract and breach of implied covenant of good

faith and fair dealing. Plaintiff also brings claims on behalf of a California subclass for

violation of the California Consumer Privacy Act, Cal. Civ. Code § 1798.150, the

California Customer Records Act, Cal. Civ. Code § 1798.80 et seq., violation of the

1
   Personally identifiable information (“PII”) generally incorporates information that
can be used to distinguish or trace an individual’s identity, either alone or when
combined with other personal or identifying information. 2 C.F.R. § 200.79. At a
minimum, it includes all information that on its face expressly identifies an individual.
PII also is generally defined to include certain identifiers that do not on its face name
an individual, but that are considered to be particularly sensitive and/or valuable if in
the wrong hands (for example, Social Security numbers, passport numbers, driver’s
license numbers, financial account numbers).
2
    https://www.sacbee.com/news/politics-government/capitol-alert/article276638381.html
3
 https://www.bleepingcomputer.com/news/security/moveit-breach-impacts-genworth-
calpers-as-data-for-32-million-exposed/
                                             -2-
          CASE
           Case 0:23-cv-02238-KMM-DTS
                MDL No. 3083 Document 104-3
                                      Doc. 1 Filed
                                              Filed08/02/23
                                                    07/27/23 Page
                                                              Page53ofof60
                                                                         58




California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq., and for

invasion of privacy based on the California Constitution, Art. 1, § 1. Plaintiff seeks,

among other things, compensatory damages, punitive and exemplary damages, injunctive

relief, attorneys’ fees, and costs of suit. Plaintiff further intends to amend this complaint

to seek statutory damages on behalf of the California subclass upon expiration of the 30-

day cure period pursuant to Cal. Civ. Code § 1798.150(b).

                                        PARTIES

         2.   Plaintiff Glen Williams is a citizen and resident of the State of California

whose personal identifying information was part of the June 2023 data breach that is the

subject of this action.

         3.   On information and belief, Defendant Pension Benefit Information, LLC is

a Delaware limited liability corporation with its principal place of business in located at

333 S. 7th Street, Suite 2400, Minneapolis, Minnesota 55402.

         4.   On information and belief, The Berwyn Group, Inc. is a Ohio corporation

with its principal place of business located at 2 Summit Park Drive, Independence, Ohio

44131.

         5.   Plaintiff brings this action on behalf of himself, on behalf of the general

public as a Private Attorney General pursuant to California Code of Civil Procedure §

1021.5 and on behalf of a class and subclass of similarly situated persons pursuant

Federal Rule of Civil Procedure 23.




                                             -3-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page64ofof60
                                                                       58




                              JURISDICTION & VENUE

       6.     This Court has general personal jurisdiction over PBI because, at all

relevant times, the company had systematic and continuous contacts with the State of

Minnesota. PBI does business in Minnesota, and has offices in Minneapolis, Minnesota.

Defendants regularly contract with a multitude of businesses, organizations and

consumers in Minnesota to provide pension plan management services. PBI does in fact

actually provide such continuous and ongoing pension plan management services to such

customers in Minnesota and has employees in Minnesota.

       7.     Furthermore, this Court has specific personal jurisdiction over PBI because

the claims in this action stem from its specific contacts with the State of Minnesota —

namely, PBI’s provision of pension plan management services to a multitude of clients in

Minnesota, PBI’s collection, maintenance, and processing of the personal data of

Minnesotans in connection with such services, including but not limited to PBI’s

employees, PBI’s failure to implement and maintain reasonable security procedures and

practices with respect to that data, and the consequent cybersecurity attack and security

breach of such data in June 2023.

       8.     This Court has diversity subject matter jurisdiction under 28 U.S.C. §

1332(d) in that the mater in controversy exceeds the sum or value of $5,000,000,

exclusive of interests and costs, and is a class action in which members of the class

defined herein include citizens of a State different from the PBI.

       9.     Supplemental jurisdiction to adjudicate issues pertaining to state law is

proper in this Court pursuant to 28 U.S.C. § 1367.
                                            -4-
         CASE
          Case 0:23-cv-02238-KMM-DTS
               MDL No. 3083 Document 104-3
                                     Doc. 1 Filed
                                             Filed08/02/23
                                                   07/27/23 Page
                                                             Page75ofof60
                                                                        58




       10.     Venue is proper in the District of Minnesota under 28 U.S.C. § 1391 (b)(1)-

(2) and (c)(2) because a substantial part of the events or omissions giving rise to the

claims alleged herein occurred within this judicial district, specifically PBI’s provision of

pension plan management services in Minnesota and within Minneapolis specifically,

PBI’s collection, maintenance, and processing of the personal data of Minnesotans in

connection with such services, PBI’s failure to implement and maintain reasonable

security procedures and practices with respect to that data, and the consequent security

breach of such data in June 2023 that resulted from PBI’s failure. In addition, Plaintiff is

informed and believes and thereon alleges that members of the class and subclass defined

below reside in the District of Minnesota, and PBI has offices within the District of

Minnesota.

                              FACTUAL BACKGROUND

       11.     Defendants Pension Benefit Information, LLC and The Berwyn Group, Inc.

(collectively “PBI”) jointly provide pension benefit management services to public

pensions throughout the nation, including CalPERS and CalSTRS. The California Public

Employees’ Retirement System, or “CalPERS,” is the largest public pension fund in the

United States, with over $400 billion in its portfolio.          The California Teachers’

Retirement Fund, or “CalSTRS,” is a sister fund to CalPERS, and has more than $300

billion in its portfolio.

       12.     PBI is a third-party contractor for CalPERS and CalSTRS, providing

necessary pension management services. For example, PBI performs critical work of

identifying pension members who have died.           As part of this work, PBI prevents
                                             -5-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page86ofof60
                                                                       58




overpayment of pension benefits and helps identify beneficiaries who are entitled to

continued pension benefits.

       13.    In connection with its pension management services, PBI collects, stores,

and processes sensitive personal data for thousands of individuals, including but not

limited to pension members for whom PBI is providing management services. In doing

so, PBI retains sensitive information including, but not limited to, bank account

information, addresses, driver’s license numbers, dates of birth, and social security

numbers, among other things.

       14.    As a pension management business involving California public pension

members, PBI is legally required to protect personal information from unauthorized

access, disclosure, theft, exfiltration, modification, use, or destruction.

       15.    PBI knew that it was a prime target for hackers given the significant

amount of sensitive personal information processed through its computer data and storage

systems. PBI’s knowledge is underscored by the massive number of data breaches that

have occurred in recent years.

       16.    Despite knowing the prevalence of data breaches, PBI failed to prioritize

data security by adopting reasonable data security measures to prevent and detect

unauthorized access to its highly sensitive systems and databases. PBI has the resources

to prevent a breach, but neglected to adequately invest in data security, despite the

growing number of well-publicized breaches. PBI failed to undertake adequate analyses

and testing of its own systems, training of its own personnel, and other data security



                                              -6-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page97ofof60
                                                                       58




measures as described herein to ensure vulnerabilities were avoided or remedied and that

Plaintiff’s and Class Members’ data were protected.

      17.    Specifically, on or around June 6, 2023, PBI notified CalPERS that it

discovered a significant cybersecurity breach that occurred at an unknown time. PBI

notified CalPERS that a previously “unknown zero day” vulnerability in the MOVEit

transfer application allowed data to be downloaded by an unauthorized third party. Very

few specific details about the Data Breach have been provided to impacted individuals.

      18.    On information and belief, the personal information PBI collects and which

was impacted by the cybersecurity attack includes individual’s name, date of birth, and

social security number, among other personal, sensitive and confidential information.

      19.    On or about June 26, 2023, CalSTRS mailed data breach notices to

impacted parties. According to notice mailed to impacted individuals, the breach resulted

in individual’s name, date of birth, social security number, and names of children, being

compromised and acquired by unauthorized actors. Plaintiff received a copy of the June

26, 2023, data breach notice via United States mail service confirming that his personal

identifying information was part of the Data Breach.

      20.    Upon information and belief, the hackers responsible for the Data Breach

stole the personal information, many of PBI’s clients and employees, including

Plaintiff’s. Because of the nature of the breach and of the personal information stored or

processed by PBI, Plaintiff is informed and believes that all categories of personal

information were further subject to unauthorized access, disclosure, theft, exfiltration,

modification, use, or destruction. Plaintiff is informed and believes that criminals would
                                           -7-
        CASE
        Case MDL
             0:23-cv-02238-KMM-DTS
                  No. 3083 Document 104-3
                                     Doc. 1 Filed
                                             Filed08/02/23
                                                   07/27/23 Page
                                                             Page108 of
                                                                     of 60
                                                                        58




have no purpose for hacking PBI other than to exfiltrate or steal, or destroy, use, or

modify as part of their ransom attempts, the coveted personal information stored or

processed by PBI.

       21.    The personal information exposed by PBI as a result of its inadequate data

security is highly valuable on the black market to phishers, hackers, identity thieves, and

cybercriminals. Stolen personal information is often trafficked on the “dark web,” a

heavily encrypted part of the Internet that is not accessible via traditional search engines.

Law enforcement has difficulty policing the dark web due to this encryption, which

allows users and criminals to conceal identities and online activity.

       22.    When malicious actors infiltrate companies and copy and exfiltrate the

personal information that those companies store, or have access to, that stolen

information often ends up on the dark web because the malicious actors buy and sell that

information for profit.

       23.    The information compromised in this unauthorized cybersecurity attack

involves sensitive personal identifying information, which is significantly more valuable

than the loss of, for example, credit card information in a retailer data breach because,

there, victims can cancel or close credit and debit card accounts. Whereas here, the

information compromised is difficult and highly problematic to change—particularly

social security numbers.

       24.    Once personal information is sold, it is often used to gain access to various

areas of the victim’s digital life, including bank accounts, social media, credit card, and

tax details. This can lead to additional personal information being harvested from the
                                             -8-
           CASE
           Case MDL
                0:23-cv-02238-KMM-DTS
                     No. 3083 Document 104-3
                                        Doc. 1 Filed
                                                Filed08/02/23
                                                      07/27/23 Page
                                                                Page119 of
                                                                        of 60
                                                                           58




victim, as well as personal information from family, friends, and colleagues of the

original victim.

       25.     Unauthorized data breaches, such as these, facilitate identity theft as

hackers obtain consumers’ personal information and thereafter use it to siphon money

from current accounts, open new accounts in the names of their victims, or sell

consumers’ personal information to others who do the same.

       26.     The high value of PII to criminals is further evidenced by the prices they

will pay through the dark web. Numerous sources cite dark web pricing for stolen

identity credentials. For example, personal information can be sold at a price ranging

from $40 to $200, and bank details have a price range of $50 to $200.4 Experian reports

that a stolen credit or debit card number can sell for $5 to $110 on the dark web.5

Criminals can also purchase access to entire company data breaches from $999 to

$4,995.6

       27.     These criminal activities have and will result in devastating financial and

personal losses to Plaintiff and Class Members. For example, it is believed that certain


4
 Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends,
Oct. 16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-
sold-on-the- dark-web-how-much-it-costs/ (last accessed July 6, 2023).
5
 Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian,
Dec. 6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-
much-your-.
personal-information-is-selling-for-on-the-dark-web/ (last accessed July 6, 2023).
6
        In      the     Dark,      VPNOverview,        2019,        available      at:
https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last accessed July 6,
2023).
                                            -9-
          CASE
           Case 0:23-cv-02238-KMM-DTS
                MDL No. 3083 Document 104-3
                                      Doc. 1 Filed
                                              Filed08/02/23
                                                    07/27/23 Page
                                                              Page12
                                                                   10ofof60
                                                                          58




PII compromised in the 2017 Experian data breach was being used, three years later, by

identity thieves to apply for COVID-19-related benefits in the state of Oklahoma. Such

fraud will be an omnipresent threat for Representative Plaintiff and Class Members for

the rest of their lives. They will need to remain constantly vigilant.

       28.     The FTC defines identity theft as “a fraud committed or attempted using the

identifying information of another person without authority.” The FTC describes

“identifying information” as “any name or number that may be used, alone or in

conjunction with any other information, to identify a specific person,” including, among

other things, “[n]ame, Social Security number, date of birth, official State or government

issued driver’s license or identification number, alien registration number, government

passport number, employer or taxpayer identification number.”

       29.     Identity thieves can use PII, such as that of Plaintiff and Class Members

which PBI failed to keep secure, to perpetrate a variety of crimes that harm victims. For

instance, identity thieves may commit various types of government fraud such as

immigration fraud, obtaining a driver’s license or identification card in the victim’s name

but with another’s picture, using the victim’s information to obtain government benefits,

or filing a fraudulent tax return using the victim’s information to obtain a fraudulent

refund.

       30.     The ramifications of PBI’s failure to keep secure Plaintiff’s and Class

Members’ PII are long lasting and severe. Once PII is stolen, particularly identification

numbers, fraudulent use of that information and damage to victims may continue for

years. Indeed, Plaintiff’s and Class Members’ PII was taken by hackers to engage in
                                             -10-
           CASE
            Case 0:23-cv-02238-KMM-DTS
                 MDL No. 3083 Document 104-3
                                       Doc. 1 Filed
                                               Filed08/02/23
                                                     07/27/23 Page
                                                               Page13
                                                                    11ofof60
                                                                           58




identity theft or to sell it to other criminals who will purchase the PII for that purpose.

The fraudulent activity resulting from the Data Breach may not come to light for years.

          31.    There may be a time lag between when harm occurs versus when it is

discovered, and also between when PII is stolen and when it is used. According to the

U.S. Government Accountability Office (“GAO”), which conducted a study regarding

data breaches:

          [L]aw enforcement officials told us that in some cases, stolen data may be
          held for up to a year or more before being used to commit identity theft.
          Further, once stolen data have been sold or posted on the Web, fraudulent
          use of that information may continue for years. As a result, studies that
          attempt to measure the harm resulting from data breaches cannot
          necessarily rule out all future harm.7


          32.    When cyber criminals access financial information and other personally

sensitive data—as they did here—there is no limit to the amount of fraud to which

Defendants may have exposed Plaintiff and Class Members.

          33.    And data breaches are preventable.8 As Lucy Thompson wrote in the DATA

BREACH AND ENCRYPTION HANDBOOK, “[i]n almost all cases, the data breaches that

occurred could have been prevented by proper planning and the correct design and

implementation of appropriate security solutions.”9 She added that “[o]rganizations that


7
 Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
http://www.gao.gov/new.items/d07737.pdf (last accessed July 6, 2023).
8
 Lucy L. Thompson, “Despite the Alarming Trends, Data Breaches Are Preventable,” in
DATA BREACH AND ENCRYPTION HANDBOOK (Lucy Thompson, ed., 2012)
9
    Id. at 17.

                                             -11-
           CASE
            Case 0:23-cv-02238-KMM-DTS
                 MDL No. 3083 Document 104-3
                                       Doc. 1 Filed
                                               Filed08/02/23
                                                     07/27/23 Page
                                                               Page14
                                                                    12ofof60
                                                                           58




collect, use, store, and share sensitive personal data must accept responsibility for

protecting the information and ensuring that it is not compromised . . . .”10

           34.    Most of the reported data breaches are a result of lax security and the

failure to create or enforce appropriate security policies, rules, and procedures …

Appropriate information security controls, including encryption, must be implemented

and enforced in a rigorous and disciplined manner so that a data breach never occurs.11

           35.    Federal and state governments have established security standards and

issued recommendations to minimize unauthorized data disclosures and the resulting

harm to individuals and financial institutions. Indeed, the Federal Trade Commission

(“FTC”) has issued numerous guides for businesses that highlight the importance of

reasonable data security practices.

           36.    According to the FTC, the need for data security should be factored into all

business decision-making.12        In 2016, the FTC updated its publication, Protecting

Personal Information: A Guide for Business, which established guidelines for

fundamental data security principles and practices for business.13 Among other things,

the guidelines note businesses should properly dispose of personal information that is no

longer needed, encrypt information stored on computer networks, understand their

10
     Id. at 28.
11
     Id.
12
  See Federal Trade Commission, Start with Security (June 2015), available at
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-
startwithsecurity.pdf (last accessed on July 6, 2023).
13
  See Federal Trade Commission, Protecting Personal Information: A Guide for Business
(Oct. 2016), available at https://www.ftc.gov/system/files/documents/plain-language/pdf-
0136_proteting-personal-information.pdf (last accessed on July 6, 2023).
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          CASE
           Case 0:23-cv-02238-KMM-DTS
                MDL No. 3083 Document 104-3
                                      Doc. 1 Filed
                                              Filed08/02/23
                                                    07/27/23 Page
                                                              Page15
                                                                   13ofof60
                                                                          58




network’s vulnerabilities, and implement policies to correct security problems. The

guidelines also recommend that businesses use an intrusion detection system to expose a

breach as soon as it occurs, monitor all incoming traffic for activity indicating someone is

attempting to hack the system, watch for large amounts of data being transmitted from

the system, and have a response plan ready in the event of the breach.

         37.   Also, the FTC recommends that companies limit access to sensitive data,

require complex passwords to be used on networks, use industry-tested methods for

security, monitor for suspicious activity on the network, and verify that third-party

service providers have implemented reasonable security measures.14

         38.   Highlighting the importance of protecting against unauthorized data

disclosures, the FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect personal information, treating the failure to employ

reasonable and appropriate measures to protect against unauthorized access to

confidential consumer data as an unfair act or practice prohibited by Section 5 of the

Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45.

         39.   Orders resulting from these actions further clarify the measures businesses

must take to meet their data security obligations.

         40.    The FBI created a technical guidance document for Chief Information

Officers and Chief Information Security Officers that compiles already existing federal

government and private industry best practices and mitigation strategies to prevent and

respond to ransomware attacks. The document is titled How to Protect Your Networks

14
     See id.
                                            -13-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page16
                                                                14ofof60
                                                                       58




from Ransomware and states that on average, more than 4,000 ransomware attacks have

occurred daily since January 1, 2016. Yet, there are very effective prevention and

response actions that can significantly mitigate the risks.15 Preventative measure include:

               Implement an awareness and training program. Because end users are
                targets, employees and individuals should be aware of the threat of
                ransomware and how it is delivered.

               Enable strong spam filters to prevent phishing emails from reaching the
                end users and authenticate inbound email using technologies like Sender
                Policy Framework (SPF), Domain Message Authentication Reporting
                and Conformance (DMARC), and DomainKeys Identified Mail (DKIM)
                to prevent email spoofing.

               Scan all incoming and outgoing emails to detect threats and filter
                executable files from reaching end users.

               Configure firewalls to block access to known malicious IP addresses.

               Patch operating systems, software, and firmware on devices. Consider
                using a centralized patch management system.

               Set anti-virus and anti-malware programs to conduct regular scans
                automatically.

               Manage the use of privileged accounts based on the principle of least
                privilege: no users should be assigned administrative access unless
                absolutely needed; and those with a need for administrator accounts
                should only use them when necessary.

               Configure access controls—including file, directory, and network share
                permissions—with least privilege in mind. If a user only needs to read
                specific files, the user should not have write access to those files,
                directories, or shares.




15
  How to Protect Your Networks from Ransomware, FBI, https://www.fbi.gov/file-
repository/ransomware-prevention-and-response-for-cisos.pdf/view (last viewed July 6,
2023).
                                           -14-
           CASE
            Case 0:23-cv-02238-KMM-DTS
                 MDL No. 3083 Document 104-3
                                       Doc. 1 Filed
                                               Filed08/02/23
                                                     07/27/23 Page
                                                               Page17
                                                                    15ofof60
                                                                           58




                  Disable macro scripts from office files transmitted via email. Consider
                   using Office Viewer software to open Microsoft Office files transmitted
                   via email instead of full office suite applications.

                  Implement Software Restriction Policies (SRP) or other controls to
                   prevent programs from executing from common ransomware locations,
                   such as temporary folders supporting popular Internet browsers or
                   compression/decompression        programs,     including       the
                   AppData/LocalAppData folder.

                  Consider disabling Remote Desktop protocol (RDP) if it is not being
                   used. Use application whitelisting, which only allows systems to
                   execute programs known and permitted by security policy.

                  Execute operating system environments or specific programs in a
                   virtualized environment.

                  Categorize data based on organizational value and implement physical
                   and logical separation of networks and data for different organizational
                   units.16


           41.   PBI could have prevented the cybersecurity attack by properly utilizing best

practices as advised by the federal government, as described in the preceding paragraphs,

but failed to do so.

           42.   PBI’s failure to safeguard against a cybersecurity attack is exacerbated by

the repeated warnings and alerts from public and private institutions, including the

federal government, directed to protecting and securing sensitive data. Experts studying

cybersecurity routinely identify companies such as PBI that collect, process, and store

massive amounts of data on cloud-based systems as being particularly vulnerable to

cyberattacks because of the value of the personal information that they collect and



16
     Id.
                                              -15-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page18
                                                                 16ofof60
                                                                        58




maintain. Accordingly, PBI knew or should have known that it was a prime target for

hackers.

       43.    According to the 2021 Thales Global Cloud Security Study, more than 40%

of organizations experienced a cloud-based data breach in the previous 12 months. Yet,

despite these incidents, the study found that nearly 83% of cloud-based businesses still

fail to encrypt half of the sensitive data they store in the cloud.17

       44.    Upon information and belief, PBI did not encrypt Plaintiff’s and Class

Members’ personal information involved in the Data Breach.

       45.    Despite knowing the prevalence of data breaches, PBI failed to prioritize

cybersecurity by adopting reasonable security measures to prevent and detect

unauthorized access to its highly sensitive systems and databases. PBI has the resources

to prevent an attack, but neglected to adequately invest in cybersecurity, despite the

growing number of well-publicized breaches. PBI failed to fully implement each and all

of the above-described data security best practices. PBI further failed to undertake

adequate analyses and testing of its own systems, training of its own personnel, and other

data security measures to ensure vulnerabilities were avoided or remedied and that

Plaintiff’s and Class Members’ data were protected.

       46.    As detailed above, PBI is a large, sophisticated pension benefits

management company with the resources to deploy robust cybersecurity protocols. It

knew, or should have known, that the development and use of such protocols were

17
  Maria Henriquez, 40% of organizations have suffered a cloud-based data breach,
Security, Oct. 29, 2021, https://www.securitymagazine.com/articles/96412-40-of-
organizations-have-suffered-a-cloud-based-datq-breach (last accessed on July 6, 2023).
                                              -16-
          CASE
           Case 0:23-cv-02238-KMM-DTS
                MDL No. 3083 Document 104-3
                                      Doc. 1 Filed
                                              Filed08/02/23
                                                    07/27/23 Page
                                                              Page19
                                                                   17ofof60
                                                                          58




necessary to fulfill its statutory and common law duties to Plaintiff and Class Members.

Its failure to do so is, therefore, intentional, willful, reckless and/or grossly negligent.

       47.     PBI disregarded the rights of Plaintiff and Class Members by, inter alia, (i)

intentionally, willfully, recklessly, and/or negligently failing to take adequate and

reasonable measures to ensure that its network servers were protected against

unauthorized intrusions; (ii) failing to disclose that it did not have adequately robust

security protocols and training practices in place to adequately safeguard Plaintiff’s and

Class Members’ PII; (iii) failing to take standard and reasonably available steps to

prevent the Data Breach; (iv) concealing the existence and extent of the Data Breach for

an unreasonable duration of time; and (v) failing to provide Plaintiff and Class Members

prompt and accurate notice of the Data Breach.

Plaintiff’s Facts

       48.     PBI received highly sensitive PII from Plaintiff in connection with PBI’s

provision of pension benefit management services the company provided to CalSTRS.

Plaintiff is a retired public school teacher with a pension through CalSTRS. As a result of

PBI’s provision of pension management services on behalf of CalSTRS, Plaintiff’s

information was among the data accessed by an unauthorized third party in the Data

Breach.

       49.     At all times herein relevant, Plaintiff is and was a member of the

nationwide class and the California subclass alleged herein.

       50.     Plaintiff’s PII was exposed in the Data Breach because PBI stored and/or

controlled Plaintiff’s PII at the time of the Data Breach.
                                              -17-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page20
                                                                 18ofof60
                                                                        58




       51.    Plaintiff received a letter from CalSTRS, dated June 22, 2023, stating that

his name, date of birth, social security number, and names of his children, that was in the

possession, custody and/or control of PBI, was involved in the Data Breach (the

“Notice”).

       52.    As a result, Plaintiff spent time dealing with the consequences of the Data

Breach, which included and continues to include, time spent verifying the legitimacy and

impact of the Data Breach, exploring credit monitoring and identity theft insurance

options, self-monitoring his accounts and seeking legal counsel regarding his options for

remedying and/or mitigating the effects of the Data Breach. This time has been lost

forever and cannot be recaptured.

       53.    Plaintiff suffered actual injury in the form of damages to and diminution in

the value of his PII—a form of intangible property that he entrusted to PBI, which was

compromised in and as a result of the Data Breach.

       54.    Plaintiff suffered lost time, annoyance, interference, and inconvenience as a

result of the Data Breach and has anxiety and increased concerns for the loss of privacy,

as well as anxiety over the impact of cybercriminals accessing, using, and selling her PII.

       55.    Plaintiff has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse resulting from his PII, in

combination with his name, being placed in the hands of unauthorized third

parties/criminals.




                                            -18-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page21
                                                                19ofof60
                                                                       58




       56.    Plaintiff has a continuing interest in ensuring that his PII, which, upon

information and belief, remains backed up in PBI’s possession, is protected and

safeguarded from future breaches.

       57.    Plaintiff’s and Class Members’ personal identifying information, including

their names and social security numbers, were in the possession, custody and/or control

of PBI. Plaintiff believed that PBI would protect and keep his personal identifying

information protected, secure and safe from unlawful disclosure.

       58.    Plaintiff and Class Members have spent and will continue to spend time and

effort monitoring her accounts to protect themselves from identity theft. Plaintiff and

Class Members remain concerned for their personal security and the uncertainty of what

personal information was exposed to hackers and/or posted to the dark web.

       59.    As a direct and foreseeable result of PBI’s negligent failure to implement

and maintain reasonable data security procedures and practices and the resultant breach

of its systems, Plaintiff and all Class Members, have suffered harm in that their sensitive

personal information has been exposed to cybercriminals and they have an increased

stress, risk, and fear of identity theft and fraud. This is not just a generalized anxiety of

possible identify theft, privacy, or fraud concerns, but a concrete stress and risk of harm

resulting from an actual breach and accompanied by actual instances of reported

problems suspected to stem from the breach.

       60.    Plaintiff and Class Members are especially concerned about the

misappropriation of their Social Security numbers. Social security numbers are among

the most sensitive kind of personal information to have stolen because they may be put to
                                            -19-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page22
                                                                 20ofof60
                                                                        58




a variety of fraudulent uses and are difficult for an individual to change. The Social

Security Administration stresses that the loss of an individual’s social security number, as

is the case here, can lead to identity theft and extensive financial fraud:

       A dishonest person who has your Social Security number can use it to get
       other personal information about you. Identity thieves can use your
       number and your good credit to apply for more credit in your name. Then,
       they use the credit cards and don’t pay the bills, it damages your credit.
       You may not find out that someone is using your number until you’re
       turned down for credit, or you begin to get calls from unknown creditors
       demanding payment for items you never bought. Someone illegally using
       your Social Security number and assuming your identity can cause a lot of
       problems.18

       61.    Furthermore, Plaintiff and Class Members are well aware that their

sensitive personal information, including social security numbers and potentially banking

information, risks being available to other cybercriminals on the dark web. Accordingly,

all Plaintiff and Class Members have suffered harm in the form of increased stress, fear,

and risk of identity theft and fraud resulting from the data breach. Additionally, Plaintiff

and Class Members have incurred, and/or will incur, out-of-pocket expenses related to

credit monitoring and identify theft prevention to address these concerns.

                           CLASS ACTION ALLEGATIONS

       62.    Plaintiff brings this action on behalf of himself and all other similarly

situated persons pursuant to Federal Rule of Civil Procedure 23, including Rule 23(b)(1)-

(3) and (c)(4). Plaintiff seeks to represent the following class and subclasses:




18
  Identify Theft and Your Social Security Number, Social Security Administration,
https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed on July 6, 2023).
                                             -20-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page23
                                                                 21ofof60
                                                                        58




       Nationwide Class. All persons in the United States whose personal
       information was compromised in or as a result of PBI’s data breach
       discovered by PBI in May or June 2023.

       California Subclass. All persons residing in California whose personal
       information was compromised in or as a result of PBI’s data breach
       discovered by PBI in May or June 2023.

Excluded from the class are the following individuals and/or entities: PBI and its parents,

subsidiaries, affiliates, officers, directors, or employees, and any entity in which PBI has

a controlling interest; all individuals who make a timely request to be excluded from this

proceeding using the correct protocol for opting out; and all judges assigned to hear any

aspect of this litigation, as well as their immediate family members.

       63.      Plaintiff reserves the right to amend or modify the class definitions with

greater particularity or further division into subclasses or limitation to particular issues.

       64.      This action has been brought and may be maintained as a class action under

Rule 23 because there is a well-defined community of interest in the litigation and the

proposed classes are ascertainable, as described further below:

             a. Numerosity: The potential members of the class as defined are so numerous

                that joinder of all members of the class is impracticable. While the precise

                number of Class Members at issue has not been determined, Plaintiff

                believes the cybersecurity breach affected hundreds of thousands of

                individuals nationwide and at least many thousands within California.

             b. Commonality: There are questions of law and fact common to Plaintiff and

                the class that predominate over any questions affecting only the individual



                                             -21-
CASE
 Case 0:23-cv-02238-KMM-DTS
      MDL No. 3083 Document 104-3
                            Doc. 1 Filed
                                    Filed08/02/23
                                          07/27/23 Page
                                                    Page24
                                                         22ofof60
                                                                58




     members of the class. The common questions of law and fact include, but

     are not limited to, the following:

         i. Whether PBI owed a duty to Plaintiff and Class Members to exercise

            due care in collecting, storing, processing, and safeguarding their

            personal information;

        ii. Whether PBI breached those duties;

       iii. Whether PBI implemented and maintained reasonable security

            procedures and practices appropriate to the nature of the personal

            information of Class Members;

       iv. Whether PBI acted negligently in connection with the monitoring

            and/or protecting of Plaintiff’s and Class Members’ personal

            information;

        v. Whether PBI knew or should have known that they did not employ

            reasonable measures to keep Plaintiff’s and Class Members’

            personal information secure and prevent loss or misuse of that

            personal information;

       vi. Whether PBI adequately addressed and fixed the vulnerabilities

            which permitted the data breach to occur;

       vii. Whether PBI caused Plaintiff and Class Members damages;

      viii. Whether the damages PBI caused to Plaintiff and Class Members

            includes the increased risk and fear of identity theft and fraud



                                    -22-
CASE
 Case 0:23-cv-02238-KMM-DTS
      MDL No. 3083 Document 104-3
                            Doc. 1 Filed
                                    Filed08/02/23
                                          07/27/23 Page
                                                    Page25
                                                         23ofof60
                                                                58




           resulting from the access and exfiltration, theft, or disclosure of their

           personal information;

       ix. Whether Plaintiff and Class Members are entitled to credit

           monitoring and other monetary relief;

        x. Whether PBI’s failure to implement and maintain reasonable

           security procedures and practices constitutes negligence;

       xi. Whether PBI’s failure to implement and maintain reasonable

           security procedures and practices constitutes negligence per se;

       xii. Whether PBI’s failure to implement and maintain reasonable

           security procedures and practices constitutes violation of the Federal

           Trade Commission Act, 15 U.S.C. § 45(a);

      xiii. Whether PBI’s failure to implement and maintain reasonable

           security procedures and practices constitutes violation of the

           California Consumer Privacy Act, Cal. Civ. Code § 1798.150,

           California’s Unfair Competition Law, Cal. Bus. & Prof. Code §

           17200; and

      xiv. Whether the California subclass is entitled to actual pecuniary

           damages under the private rights of action in the California

           Customer Records Act, Cal. Civ. Code § 1798.84 and the California

           Consumer Privacy Act, Civ. Code § 1798.150, and the proper

           measure of such damages, and/or statutory damages pursuant §

           1798.150(a)(1)(A) and the proper measure of such damages.
                                   -23-
CASE
 Case 0:23-cv-02238-KMM-DTS
      MDL No. 3083 Document 104-3
                            Doc. 1 Filed
                                    Filed08/02/23
                                          07/27/23 Page
                                                    Page26
                                                         24ofof60
                                                                58




  c. Typicality. The claims of the named Plaintiff are typical of the claims of the

     Class Members because all had their personal information compromised as

     a result of PBI’s failure to implement and maintain reasonable security

     measures and the consequent data breach.

  d. Adequacy of Representation. Plaintiff will fairly and adequately represent

     the interests of the class. Counsel who represent Plaintiff are experienced

     and competent in consumer and employment class actions, as well as

     various other types of complex and class litigation.

  e. Superiority and Manageability. A class action is superior to other available

     means for the fair and efficient adjudication of this controversy. Individual

     joinder of all Plaintiffs is not practicable, and questions of law and fact

     common to Plaintiff predominate over any questions affecting only

     Plaintiff. Plaintiff has been damaged and is entitled to recovery by reason

     of PBI’s unlawful failure to adequately safeguard their data. Class action

     treatment will allow those similarly situated persons to litigate their claims

     in the manner that is most efficient and economical for the parties and the

     judicial system. As any civil penalty awarded to any individual class

     member may be small, the expense and burden of individual litigation make

     it impracticable for most Class Members to seek redress individually. It is

     also unlikely that any individual consumer would bring an action solely on

     behalf of himself or herself pursuant to the theories asserted herein.

     Additionally, the proper measure of civil penalties for each wrongful act
                                   -24-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page27
                                                                 25ofof60
                                                                        58




                will be answered in a consistent and uniform manner. Furthermore, the

                adjudication of this controversy through a class action will avoid the

                possibility of inconsistent and potentially conflicting adjudication of the

                asserted claims. There will be no difficulty in the management of this

                action as a class action, as PBI’s records will readily enable the Court and

                parties to ascertain affected companies and their employees.


       65.      Class certification is also appropriate under Fed. R. Civ. P. 23(a) and (b)(2)

because PBI has acted or refused to act on grounds generally applicable to the class, so

that final injunctive relief or corresponding declaratory relief is appropriate as to the class

as a whole.

       66.      Likewise, particular issues under Rule 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the resolution

of which would advance the disposition of the matters and the parties’ interests therein.

Such particular issues include, but are not limited to:

             a. Whether PBI owed a legal duty to Plaintiff and Class Members to exercise

                due care in collecting, storing, processing, using, and safeguarding their

                personal information;

             b. Whether PBI breached that legal duty to Plaintiff and Class Members to

                exercise due care in collecting, storing, processing, using, and safeguarding

                their personal information;




                                              -25-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page28
                                                                 26ofof60
                                                                        58




             c. Whether PBI failed to comply with their own policies and applicable laws,

                regulations, and industry standards relating to data security;

             d. Whether PBI failed to implement and maintain reasonable security

                procedures and practices appropriate to the nature of the personal

                information compromised in the breach; and

             e. Whether Class Members are entitled to actual damages, credit monitoring,

                injunctive relief, statutory damages, and/or punitive damages as a result of

                PBI’s wrongful conduct as alleged herein.

                                   CAUSES OF ACTION

                                       COUNT 1
                                      Negligence
       (On Behalf of Plaintiff and All Nationwide Class Members Against PBI)

       67.      Plaintiff realleges and incorporates by reference the preceding paragraphs

as if fully set forth herein.

       68.      PBI owed a duty to Plaintiff and Class Members to exercise reasonable care

in obtaining, storing, using, processing, deleting and safeguarding their personal

information in its possession from being compromised, stolen, accessed, and/or misused

by unauthorized persons. That duty includes a duty to implement and maintain reasonable

security procedures and practices appropriate to the nature of the personal information

that were compliant with and/or better than industry-standard practices. PBI’s duties

included a duty to design, maintain, and test its security systems to ensure that Plaintiff’s

and Class Members’ personal information was adequately secured and protected, to

implement processes that would detect a breach of its security system in a timely manner,
                                              -26-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page29
                                                                27ofof60
                                                                       58




to timely act upon warnings and alerts, including those generated by its own security

systems regarding intrusions to its networks, and to promptly, properly, and fully notify

its clients, Plaintiff, and Class Members of any data breach.

       69.    PBI’s duties to use reasonable care arose from several sources, including

but not limited to those described below.

       70.    PBI had a common law duty to prevent foreseeable harm to others. This

duty existed because Plaintiff and Class Members were the foreseeable and probable

victims of any inadequate security practices. In fact, not only was it foreseeable that

Plaintiff and Class Members would be harmed by the failure to protect their personal

information because hackers routinely attempt to steal such information and use it for

nefarious purposes, but PBI also knew that it was more likely than not Plaintiff and other

Class Members would be harmed.

       71.    PBI’s duty also arose under Section 5 of the Federal Trade Commission

Act, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or affecting commerce,”

including, as interpreted and enforced by the FTC, the unfair practice of failing to use

reasonable measures to protect personal information by companies such as PBI.

       72.    Various FTC publications and data security breach orders further form the

basis of PBI’s duty. According to the FTC, the need for data security should be factored

into all business decision making.19 In 2016, the FTC updated its publication, Protecting


19
     Start with Security, A Guide for Business, FTC                       (June    2015),
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-
startwithsecurity.pdf

                                            -27-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page30
                                                                28ofof60
                                                                       58




Personal Information: A Guide for Business, which established guidelines for

fundamental data security principles and practices for business.20 Among other things, the

guidelines note that businesses should protect the personal customer information that they

keep; properly dispose of personal information that is no longer needed; encrypt

information stored on computer networks; understand their network’s vulnerabilities; and

implement policies to correct security problems. The guidelines also recommend that

businesses use an intrusion detection system to expose a breach as soon as it occurs;

monitor all incoming traffic for activity indicating someone is attempting to hack the

system; watch for large amounts of data being transmitted from the system; and have a

response plan ready in the event of a breach. Additionally, the FTC recommends that

companies limit access to sensitive data, require complex passwords to be used on

networks, use industry-tested methods for security, monitor for suspicious activity on the

network, and verify that third-party service providers have implemented reasonable

security measures. The FBI has also issued guidance on best practices with respect to

data security that also form the basis of PBI’s duty of care, as described above.21

       73.    By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and

Class Members’ personal information, PBI assumed legal and equitable duties and knew




20
    Protecting Personal Information, A Guide for Business, FTC (Oct. 2016),
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
information.pdf
21
   How to Protect Your Networks from Ransomware, FBI, https://www.fbi.gov/file-
repository/ransomware-prevention-and-response-for-cisos.pdf/view (last accessed on July
6, 2023).
                                            -28-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page31
                                                                29ofof60
                                                                       58




or should have known that it was responsible for protecting Plaintiff’s and Class

Members’ personal information from disclosure.

       74.    PBI also had a duty to safeguard the personal information of Plaintiff and

Class Members and to promptly notify them of a breach because of state laws and

statutes that require PBI to reasonably safeguard personal information, as detailed herein,

including Cal. Civ. Code § 1798.80 et seq.

       75.    Timely notification was required, appropriate, and necessary so that, among

other things, Plaintiff and Class Members could take appropriate measures to freeze or

lock their credit profiles, cancel or change usernames or passwords on compromised

accounts, monitor their account information and credit reports for fraudulent activity,

contact their banks or other financial institutions that issue their credit or debit cards,

obtain credit monitoring services, develop alternative timekeeping methods or other tacks

to avoid untimely or inaccurate wage payments, and take other steps to mitigate or

ameliorate the damages caused by PBI’s misconduct.

       76.    Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their personal information.

       77.    PBI breached the duties it owed to Plaintiff and Class Members described

above and thus was negligent. PBI breached these duties by, among other things, failing

to: (a) exercise reasonable care and implement adequate security systems, protocols and

practices sufficient to protect the personal information of Plaintiff and Class Members;

(b) prevent the breach; (c) timely detect the breach; (d) maintain security systems

consistent with industry; (e) timely disclose that Plaintiff’s and Class Members’ personal
                                             -29-
          CASE
           Case 0:23-cv-02238-KMM-DTS
                MDL No. 3083 Document 104-3
                                      Doc. 1 Filed
                                              Filed08/02/23
                                                    07/27/23 Page
                                                              Page32
                                                                   30ofof60
                                                                          58




information in PBI’s possession had been or was reasonably believed to have been stolen

or compromised; (f) failing to comply fully even with its own purported security

practices.

          78.   PBI knew or should have known of the risks of collecting and storing

personal information and the importance of maintaining secure systems, especially in

light of the increasing frequency of ransomware attacks. The sheer scope of PBI’s

operations further shows that PBI knew or should have known of the risks and possible

harm that could result from its failure to implement and maintain reasonable security

measures. On information and belief, this is but one of the several vulnerabilities that

plagued PBI’s systems and led to the data breach.

          79.   Through PBI’s acts and omissions described in this complaint, including

PBI’s failure to provide adequate security and its failure to protect the personal

information of Plaintiff and Class Members from being foreseeably captured, accessed,

exfiltrated, stolen, disclosed, accessed, and misused, PBI unlawfully breached their duty

to use reasonable care to adequately protect and secure Plaintiff’s and Class Members’

personal information.

          80.   PBI further failed to timely and accurately disclose to clients, Plaintiff, and

Class Members that their personal information had been improperly acquired or accessed

and/or was available for sale to criminals on the dark web. Plaintiff and Class Members

could have taken action to protect their personal information if they were provided timely

notice.



                                              -30-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page33
                                                                31ofof60
                                                                       58




      81.    But for PBI’s wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, their personal information would not have been compromised.

      82.    Plaintiff and Class Members relied on PBI to keep their personal

information confidential and securely maintained, and to use this information for business

purposes only, and to make only authorized disclosures of this information.

      83.    As a direct and proximate result of PBI’s negligence, Plaintiff and Class

Members have been injured as described herein, and are entitled to damages, including

compensatory, punitive, and nominal damages, in an amount to be proven at trial. As a

result of PBI’s failure to protect Plaintiff’s and Class Members’ personal information,

Plaintiff’s and Class Members’ personal information has been accessed by malicious

cybercriminals. Plaintiff ‘and the Class Members’ injuries include:

      a.     theft of their personal information;

      b.     costs associated with requested credit freezes;

      c.     costs associated with the detection and prevention of identity theft and

             unauthorized use of their financial accounts;

      d.     costs associated with purchasing credit monitoring and identity theft

             protection services;

      e.     unauthorized charges and loss of use of and access to their financial

             account funds and costs associated with the inability to obtain money from

             their accounts or being limited in the amount of money they were permitted

             to obtain from their accounts, including missed payments on bills and

             loans, late charges and fees, and adverse effects on their credit;
                                           -31-
 CASE
  Case 0:23-cv-02238-KMM-DTS
       MDL No. 3083 Document 104-3
                             Doc. 1 Filed
                                     Filed08/02/23
                                           07/27/23 Page
                                                     Page34
                                                          32ofof60
                                                                 58




f.    lowered credit scores resulting from credit inquiries following fraudulent

      activities;

g.    costs associated with time spent and loss of productivity from taking time

      to address and attempt to ameliorate, mitigate, and deal with the actual and

      future consequences of the data breach, including finding fraudulent

      charges, cancelling and reissuing cards, enrolling in credit monitoring and

      identity theft protection services, freezing and unfreezing accounts, and

      imposing withdrawal and purchase limits on compromised accounts;

h.    the imminent and certainly impending injury flowing from potential fraud

      and identity theft posed by their personal information being placed in the

      hands of criminals;

i.    damages to and diminution of value of their personal information entrusted,

      directly or indirectly, to PBI with the mutual understanding that PBI would

      safeguard Plaintiff’s and the Class Members’ data against theft and not

      allow access and misuse of their data by others;

j.    continued risk of exposure to hackers and thieves of their personal

      information, which remains in PBI’s possession and is subject to further

      breaches so long as PBI fails to undertake appropriate and adequate

      measures to protect Plaintiff and Class Members, along with damages

      stemming from the stress, fear, and anxiety of an increased risk of identity

      theft and fraud stemming from the breach;

k.    loss of the inherent value of their personal information;
                                    -32-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page35
                                                                 33ofof60
                                                                        58




       l.      the loss of the opportunity to determine for themselves how their personal

               information is used; and

       m.      other significant additional risk of identity theft, financial fraud, and other

               identity-related fraud in the indefinite future.

       84.     In connection with the conduct descried above, PBI acted wantonly,

recklessly, and with complete disregard for the consequences Plaintiff and Class

Members would suffer if their highly sensitive and confidential personal information,

including but not limited to name, company name, address, social security numbers, and

banking and credit card information, was access by unauthorized third parties.

                                      COUNT II
                                   Negligence Per Se
       (On Behalf of Plaintiff and All Nationwide Class Members Against PBI)

       85.     Plaintiff realleges and incorporates by reference the preceding paragraphs

as if fully set forth herein.

       86.     Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, prohibits

“unfair . . . practices in or affecting commerce,” including, as interpreted and enforced by

the FTC, the unfair practice of failing to use reasonable measures to protect personal

information by companies such as PBI. Various FTC publications and data security

breach orders further form the basis of PBI’s duty. In addition, individual states have

enacted statutes based on the FTC Act that also created a duty.

       87.     PBI violated Section 5 of the FTC Act by failing to use reasonable

measures to protect personal information and not complying with industry standards.



                                              -33-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page36
                                                                 34ofof60
                                                                        58




PBI’s conduct was particularly unreasonable given the nature and amount of personal

information it obtained and stored and the foreseeable consequences of a data breach.

       88.    PBI’s violation of Section 5 of the FTC Act constitutes negligence per se.

       89.    Plaintiff and Class Members are consumers within the class of persons

Section 5 of the FTC Act was meant to protect.

       90.    Moreover, the harm that has occurred is the type of harm that the FTC Act

was intended to guard against. Indeed, the FTC has pursued over fifty enforcement

actions against businesses which, as a result of their failure to employ reasonable data

security measures and avoid unfair and deceptive practices, caused the same harm

suffered by Plaintiff and the Class.

       91.    As a direct and proximate result of PBI’s negligence, Plaintiff and Class

Members have been injured as described herein, and are entitled to damages, including

compensatory, punitive, and nominal damages, in an amount to be proven at trial.

                                      COUNT III
                                Declaratory Judgment
       (On Behalf of Plaintiff and All Nationwide Class Members Against PBI)

       92.    Plaintiff realleges and incorporates by reference the preceding paragraphs

as though fully set forth herein.

       93.    Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., this Court

is authorized to enter a judgment declaring the rights and legal relations of the parties and

grant further necessary relief. Furthermore, the Court has broad authority to restrain acts,

such as here, that are tortious and violate the terms of the federal and state statutes

described in this complaint.
                                            -34-
          CASE
           Case 0:23-cv-02238-KMM-DTS
                MDL No. 3083 Document 104-3
                                      Doc. 1 Filed
                                              Filed08/02/23
                                                    07/27/23 Page
                                                              Page37
                                                                   35ofof60
                                                                          58




          94.      An actual controversy has arisen in the wake of the PBI data breach

regarding its present and prospective common law and other duties to reasonably

safeguard consumers personal identifying information in its possession, custody and/or

control and regarding whether PBI is currently maintaining data security measures

adequate to protect Plaintiff and Class Members from further data breaches that

compromise their personal information. Plaintiff alleges that PBI’s data security

measures remain inadequate. PBI denies these allegations. Plaintiff continues to suffer

injury as a result of the compromise of their personal information and remains at

imminent risk that further compromises of her personal information will occur in the

future.

          95.      Pursuant to its authority under the Declaratory Judgment Act, this Court

should enter a judgment declaring, among other things, the following:

                a. PBI continues to owe a legal duty to secure consumers’ personal

                   information,   including   Plaintiff’s   and   Class   Members’   personal

                   information, to timely notify them of a data breach under the common law,

                   Section 5 of the FTC Act; and

                b. PBI continues to breach this legal duty by failing to employ reasonable

                   measures to secure Plaintiff’s and Class Members’ personal information.

          96.      The Court should issue corresponding prospective injunctive relief

requiring PBI to employ adequate security protocols consistent with law and industry

standards to protect Plaintiff’s and Class Members’ personal information.



                                                -35-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page38
                                                                 36ofof60
                                                                        58




       97.    If an injunction is not issued, Plaintiff will suffer irreparable injury, and

lack an adequate legal remedy, in the event of another data breach at PBI. The risk of

another such breach is real, immediate, and substantial. If another breach at PBI occurs,

Plaintiff will not have an adequate remedy at law because many of the resulting injuries

are not readily quantified and they will be forced to bring multiple lawsuits to rectify the

same conduct.

       98.    The hardship to Plaintiff if an injunction is not issued exceeds the hardship

to PBI if an injunction is issued. Among other things, if another massive data breach

occurs, Plaintiff and Class Members will likely be subjected to substantial identity theft

and other damage. On the other hand, the cost to PBI of complying with an injunction by

employing reasonable prospective data security measures is relatively minimal, and PBI

has a pre-existing legal obligation to employ such measures.

       99.    Issuance of the requested injunction will not disserve the public interest. To

the contrary, such an injunction would benefit the public by preventing another data

breach, thus eliminating the additional injuries that would result to Plaintiff and the

thousands of Class Members whose confidential information would be further

compromised.

                                      COUNT IV
                 Violation of the California Consumer Privacy Act,
                  Cal. Civ. Code §§ 1798.100 et seq., § 1798.150(a)
       (On Behalf of Plaintiff and All Nationwide Class Members Against PBI)

       100.   Plaintiff realleges and incorporates by reference the preceding paragraphs

as though fully set forth herein.


                                            -36-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page39
                                                                 37ofof60
                                                                        58




       101.   The California Consumer Privacy Act (“CCPA”), Cal. Civ. Code §

1798.150(a), creates a private cause of action for violations of the CCPA. Section

1798.150(a) specifically provides:

       Any consumer whose nonencrypted and nonredacted personal information,
       as defined in subparagraph (A) of paragraph (1) of subdivision (d) of
       Section 1798.81.5, is subject to an unauthorized access and exfiltration,
       theft, or disclosure as a result of the business’s violation of the duty to
       implement and maintain reasonable security procedures and practices
       appropriate to the nature of the information to protect the personal
       information may institute a civil action for any of the following:

              (A) To recover damages in an amount not less than one hundred
              dollars ($100) and not greater than seven hundred and fifty ($750)
              per consumer per incident or actual damages, whichever is greater.

              (B) Injunctive or declaratory relief.

              (C) Any other relief the court deems proper.

       102.   PBI is a “business” under § 1798.140(b) in that it is a corporation organized

for profit or financial benefit of its shareholders or other owners, with gross revenue in

excess of $25 million.

       103.   Plaintiff and California Subclass Members are covered “consumers” under

§ 1798.140(g) in that they are natural persons who are California residents.

       104.   The personal information of Plaintiff and the California Subclass Members

at issue in this lawsuit constitutes “personal information” under § 1798.150(a) and

1798.81.5, in that the personal information PBI collects and which was impacted by the

cybersecurity attack includes an individual’s first name or first initial and the individual’s

last name in combination with one or more of the following data elements, with either the

name or the data elements not encrypted or redacted: (i) Social Security number; (ii)
                                            -37-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page40
                                                                 38ofof60
                                                                        58




Driver’s license number, California identification card number, tax identification number,

passport number, military identification number, or other unique identification number

issued on a government document commonly used to verify the identity of a specific

individual; (iii) account number or credit or debit card number, in combination with any

required security code, access code, or password that would permit access to an

individual’s financial account; (iv) medical information; (v) health insurance information;

(vi) unique biometric data generated from measurements or technical analysis of human

body characteristics, such as a fingerprint, retina, or iris image, used to authenticate a

specific individual.

       105.   PBI knew or should have known that its computer systems and data

security practices were inadequate to safeguard the California Subclass Members’

personal information and that the risk of a data breach or theft was highly likely. PBI

failed to implement and maintain reasonable security procedures and practices

appropriate to the nature of the information to protect the personal information of

Plaintiff and the California Subclass Members. Specifically, PBI subjected Plaintiff’s and

the California Subclass Members’ nonencrypted and nonredacted personal information to

an unauthorized access and exfiltration, theft, or disclosure as a result of the PBI’s

violation of the duty to implement and maintain reasonable security procedures and

practices appropriate to the nature of the information, as described herein.

       106.   As a direct and proximate result of PBI’s violation of its duty, the

unauthorized access and exfiltration, theft, or disclosure of Plaintiff’s and California

Subclass Members’ personal information included exfiltration, theft, or disclosure
                                            -38-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page41
                                                                 39ofof60
                                                                        58




through PBI’s servers, systems, and website, and/or the dark web, where hackers further

disclosed the personal identifying information alleged herein.

       107.   As a direct and proximate result of PBI’s acts, Plaintiff and the California

Subclass Members were injured and lost money or property, including but not limited to

the loss of Plaintiff’s and California Subclass Members’ legally protected interest in the

confidentiality and privacy of their personal information, stress, fear, and anxiety,

nominal damages, and additional losses described above.

       108.   Section 1798.150(b) specifically provides that “[n]o [prefiling] notice shall

be required prior to an individual consumer initiating an action solely for actual

pecuniary damages.” Accordingly, Plaintiff and the California Subclass Members by

way of this complaint seek actual pecuniary damages suffered as a result of PBI’s

violations described herein. On July 5, 2023, Plaintiff issued a notice of these alleged

violations pursuant to § 1798.150(b) and intends to amend this complaint to seek

statutory damages and injunctive relief upon expiration of the 30-day cure period

pursuant to § 1798(a)(1)(A)-(B), (a)(2), and (b).

                                    COUNT V
Violation of the California Customer Records Act, Cal. Civ. Code §§ 1798.80 et seq.
     (On Behalf of Plaintiff and All Nationwide Class Members Against PBI)

       109.   Plaintiff realleges and incorporates by reference the preceding paragraphs

as though fully set forth herein.

       110.   Cal. Civ. Code § 1798.81.5 provides that “[i]t is the intent of the

Legislature to ensure that personal information about California residents is protected. To

that end, the purpose of this section is to encourage businesses that own, license, or
                                            -39-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page42
                                                                 40ofof60
                                                                        58




maintain personal information about Californians to provide reasonable security for that

information.”

       111.     Section 1798.81.5(b) further states that: “[a] business that owns, licenses, or

maintains personal information about a California resident shall implement and maintain

reasonable security procedures and practices appropriate to the nature of the information,

to protect the personal information from unauthorized access, destruction, use,

modification, or disclosure.”

       112.     Cal. Civ. Code § 1798.84(b) provides that [a]ny customer injured by a

violation of this title may institute a civil action to recover damages.” Section 1798.84(e)

further provides that “[a]ny business that violates, proposes to violate, or has violated this

title may be enjoined.”

       113.     Plaintiff and the California Subclass Members are “customers” within the

meaning of Civ. Code § 1798.80(c) and 1798.84(b) because they are individuals who

provided personal information to PBI, directly and/or indirectly, for the purpose of

obtaining a service from PBI.

       114.     The personal information of Plaintiff and the California Subclass Members

at issue in this lawsuit constitutes “personal information” under § 1798.81.5(d)(1) in that

the personal information PBI collects and which was impacted by the cybersecurity

attack includes an individual’s first name or first initial and the individual’s last name in

combination with one or more of the following data elements, with either the name or the

data elements not encrypted or redacted: (i) Social Security number; (ii) Driver’s license

number, California identification card number, tax identification number, passport
                                              -40-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page43
                                                                 41ofof60
                                                                        58




number, military identification number, or other unique identification number issued on a

government document commonly used to verify the identity of a specific individual; (iii)

account number or credit or debit card number, in combination with any required security

code, access code, or password that would permit access to an individual’s financial

account; (iv) medical information; (v) health insurance information; (vi) unique biometric

data generated from measurements or technical analysis of human body characteristics,

such as a fingerprint, retina, or iris image, used to authenticate a specific individual.

       115.   PBI knew or should have known that its computer systems and data

security practices were inadequate to safeguard the Plaintiff’s and California Subclass

Members’ personal information and that the risk of a data breach or theft was highly

likely. PBI failed to implement and maintain reasonable security procedures and practices

appropriate to the nature of the information to protect the personal information of

Plaintiff and the California Subclass Members. Specifically, PBI failed to implement and

maintain reasonable security procedures and practices appropriate to the nature of the

information, to protect the personal information of Plaintiff and the California Subclass

Members from unauthorized access, destruction, use, modification, or disclosure. PBI

further subjected Plaintiff’s and the California Subclass Members’ nonencrypted and

nonredacted personal information to an unauthorized access and exfiltration, theft, or

disclosure as a result of the PBI’s violation of the duty to implement and maintain

reasonable security procedures and practices appropriate to the nature of the information,

as described herein.



                                             -41-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page44
                                                                42ofof60
                                                                       58




       116.   As a direct and proximate result of PBI’s violation of its duty, the

unauthorized access, destruction, use, modification, or disclosure of the personal

information of Plaintiff and the California Subclass Members included hackers’ access to,

removal, deletion, destruction, use, modification, disabling, disclosure and/or conversion

of the personal information of Plaintiff and the California Subclass Members by the

ransomware attackers and/or additional unauthorized third parties to whom those

cybercriminals sold and/or otherwise transmitted the information.

       117.   As a direct and proximate result of PBI’s acts or omissions, Plaintiff and

the California Subclass Members were injured and lost money or property including, but

not limited to, the loss of Plaintiff’s and the California Subclass Members’ legally

protected interest in the confidentiality and privacy of their personal information, nominal

damages, and additional losses described above. Plaintiff seeks compensatory damages as

well as injunctive relief pursuant to Cal. Civ. Code § 1798.84(b).

       118.   Moreover, the California Customer Records Act further provides: “A

person or business that maintains computerized data that includes personal information

that the person or business does not own shall notify the owner or licensee of the

information of the breach of the security of the data immediately following discovery, if

the personal information was, or is reasonably believed to have been, acquired by an

unauthorized person.” Cal. Civ. Code § 1798.82.

       119.   Any person or business that is required to issue a security breach

notification under the CRA must meet the following requirements under §1798.82(d):



                                            -42-
CASE
 Case 0:23-cv-02238-KMM-DTS
      MDL No. 3083 Document 104-3
                            Doc. 1 Filed
                                    Filed08/02/23
                                          07/27/23 Page
                                                    Page45
                                                         43ofof60
                                                                58




  a. The name and contact information of the reporting person or business

     subject to this section;

  b. A list of the types of personal information that were or are reasonably

     believed to have been the subject of a breach;

  c. If the information is possible to determine at the time the notice is provided,

     then any of the following:

         i. the date of the breach,

        ii. the estimated date of the breach, or

        iii. the date range within which the breach occurred. The notification

            shall also include the date of the notice;

  d. Whether notification was delayed as a result of a law enforcement

     investigation, if that information is possible to determine at the time the

     notice is provided;

  e. A general description of the breach incident, if that information is possible

     to determine at the time the notice is provided;

  f. The toll-free telephone numbers and addresses of the major credit reporting

     agencies if the breach exposed a social security number or a driver’s license

     or California identification card number;

  g. If the person or business providing the notification was the source of the

     breach, an offer to provide appropriate identity theft prevention and

     mitigation services, if any, shall be provided at no cost to the affected

     person for not less than 12 months along with all information necessary to
                                      -43-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page46
                                                                44ofof60
                                                                       58




              take advantage of the offer to any person whose information was or may

              have been breached if the breach exposed or may have exposed personal

              information.

       120.   PBI failed to provide the legally compliant notice under § 1798.82(d) to

Plaintiff and members of the California Subclass. On information and belief, to date, PBI

has not sent written notice of the data breach to all impacted individuals. As a result, PBI

has violated § 1798.82 by not providing legally compliant and timely notice to all

California Subclass Members. Because not all members of the class have been notified of

the breach, members could have taken action to protect their personal information, but

were unable to do so because they were not timely notified of the breach.

       121.   On information and belief, many California Subclass Members affected by

the breach have not received any notice at all from PBI in violation of Section

1798.82(d).

       122.   As a result of the violations of Cal. Civ. Code § 1798.82, Plaintiff and

California Subclass Members suffered incrementally increased damages separate and

distinct from those simply caused by the breaches themselves.

       123.   As a direct consequence of the actions as identified above, Plaintiff and

California Subclass Members incurred additional losses and suffered further harm to their

privacy, including but not limited to economic loss, the loss of control over the use of

their identity, increased stress, fear, and anxiety, harm to their constitutional right to

privacy, lost time dedicated to the investigation of the breach and effort to cure any

resulting harm, the need for future expenses and time dedicated to the recovery and
                                            -44-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page47
                                                                 45ofof60
                                                                        58




protection of further loss, and privacy injuries associated with having their sensitive

personal, financial, and payroll information disclosed, that they would not have otherwise

incurred, and are entitled to recover compensatory damages according to proof pursuant

to § 1798.84(b).

                                      COUNT VI
               Violation of the California Unfair Competition Law,
                        Cal. Bus. & Prof. Code §17200 et seq.
       (On Behalf of Plaintiff and All Nationwide Class Members Against PBI)

       124.   Plaintiff realleges and incorporates by reference the preceding paragraphs

as though fully set forth herein.

       125.   PBI is a “person” defined by Cal. Bus. & Prof. Code § 17201.

       126.   PBI violated Cal. Bus. & Prof. Code § 17200 et seq. (“UCL”) by engaging

in unlawful, unfair, and deceptive business acts and practices.

       127.   PBI’s “unfair” acts and practices include:

          a. PBI failed to implement and maintain reasonable security measures to

              protect Plaintiff’s and California Subclass Members’ personal information

              from unauthorized disclosure, release, data breaches, and theft, which was a

              direct and proximate cause of the PBI Data Breach. PBI failed to identify

              foreseeable security risks, remediate identified security risks, and

              adequately improve security following previous cybersecurity incidents and

              known coding vulnerabilities in the industry;

          b. PBI’s failure to implement and maintain reasonable security measures also

              was contrary to legislatively-declared public policy that seeks to protect


                                           -45-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page48
                                                                46ofof60
                                                                       58




             consumers’ data and ensure that entities that are trusted with it use

             appropriate security measures. These policies are reflected in laws,

             including the FTC Act (15 U.S.C. § 45), California’s Customer Records

             Act (Cal. Civ. Code § 1798.80 et seq.), and California’s Consumer Privacy

             Act (Cal. Civ. Code § 1798.150);

         c. PBI’s failure to implement and maintain reasonable security measures also

             led to substantial consumer injuries, as described above, that are not

             outweighed by any countervailing benefits to consumers or competition.

             Moreover, because consumers could not know of PBI’s inadequate

             security, consumers could not have reasonably avoided the harms that PBI

             caused; and

         d. Engaging in unlawful business practices by violating Cal. Civ. Code §

             1798.82.

      128.   PBI has engaged in “unlawful” business practices by violating multiple

laws, including California’s Consumer Records Act, Cal. Civ. Code §§ 1798.81.5

(requiring reasonable data security measures) and 1798.82 (requiring timely breach

notification), California’s Consumer Privacy Act, Cal. Civ. Code § 1798.150,

California’s Consumers Legal Remedies Act, Cal. Civ. Code §§ 1780, et seq., the FTC

Act, 15 U.S.C. § 45, and California common law.

      129.   PBI’s unlawful, unfair, and deceptive acts and practices include:

             a. Failing to implement and maintain reasonable security and privacy

                measures to protect Plaintiff’s and California Subclass Members’
                                          -46-
CASE
 Case 0:23-cv-02238-KMM-DTS
      MDL No. 3083 Document 104-3
                            Doc. 1 Filed
                                    Filed08/02/23
                                          07/27/23 Page
                                                    Page49
                                                         47ofof60
                                                                58




        personal information, which was a direct and proximate cause of the

        PBI Data Breach;

     b. Failing to identify foreseeable security and privacy risks, remediate

        identified security and privacy risks, and adequately improve security

        and privacy measures following previous cybersecurity incidents, which

        was a direct and proximate cause of the PBI Data Breach;

     c. Failing to comply with common law and statutory duties pertaining to

        the security and privacy of Plaintiff’s and California Subclass Members’

        personal information, including duties imposed by the FTC Act, 15

        U.S.C. § 45, California’s Customer Records Act, Cal. Civ. Code §§

        1798.80 et seq., and California’s Consumer Privacy Act, Cal. Civ. Code

        § 1798.150, which was a direct and proximate cause of the PBI Data

        Breach;

     d. Misrepresenting that it would protect the privacy and confidentiality of

        Plaintiff’s and California Subclass Members’ personal information,

        including by implementing and maintaining reasonable security

        measures;

     e. Misrepresenting that it would comply with common law and statutory

        duties pertaining to the security and privacy of Plaintiff’s and California

        Subclass Members’ personal information, including duties imposed by

        the FTC Act, 15 U.S.C. § 45, California’s Customer Records Act, Cal.



                                  -47-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page50
                                                                48ofof60
                                                                       58




                  Civ. Code §§ 1798.80, et seq., and California’s Consumer Privacy Act,

                  Cal. Civ. Code § 1798.150;

               f. Omitting, suppressing, and concealing the material fact that it did not

                  reasonably or adequately secure Plaintiff’s and California Subclass

                  Members’ personal information; and

               g. Omitting, suppressing, and concealing the material fact that it did not

                  comply with common law and statutory duties pertaining to the security

                  and privacy of Plaintiff’s and California Subclass Members’ personal

                  information, including duties imposed by the FTC Act, 15 U.S.C. § 45,

                  California’s Customer Records Act, Cal. Civ. Code §§ 1798.80, et seq.,

                  and California’s Consumer Privacy Act, Cal. Civ. Code § 1798.150.


       130.    PBI’s representations and omissions were material because they were

likely to deceive reasonable consumers about the adequacy of PBI’s data security and

ability to protect the confidentiality of consumers’ personal information.

       131.    As a direct and proximate result of PBI’s unfair, unlawful, and fraudulent

acts and practices, Plaintiff and California Subclass Members’ were injured and lost

money or property, which would not have occurred but for the unfair and deceptive acts,

practices, and omissions alleged herein, monetary damages from fraud and identity theft,

time and expenses related to monitoring their financial accounts for fraudulent activity,

an increased, imminent risk of fraud and identity theft, and loss of value of their personal

information.


                                            -48-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page51
                                                                 49ofof60
                                                                        58




       132.   PBI’s    violations     were,   and    are,   willful,   deceptive,   unfair,   and

unconscionable.

       133.   Plaintiff and California Subclass Members have lost money and property as

a result of PBI’s conduct in violation of the UCL, as stated herein and above.

       134.   By deceptively storing, collecting, and disclosing their personal

information, PBI has taken money or property form Plaintiff and California Subclass

Members.

       135.   PBI acted intentionally, knowingly, and maliciously to violate California’s

Unfair Competition Law, and recklessly disregarded Plaintiff’s and California Subclass

Members’ rights. Past data breaches put it on notice that its security and privacy

protections were inadequate.

       136.   Plaintiff and California Subclass Members seek all monetary and

nonmonetary relief allowed by law, including restitution of all profits stemming from

PBI’s unfair, unlawful, and fraudulent business practices or use of their personal

information; declaratory relief; reasonable attorneys’ fees and costs under California

Code of Civil Procedure § 1021.5; injunctive relief; and other appropriate equitable relief,

including public injunctive relief.

                                     COUNT VII
           Common Law Invasion of Privacy – Intrusion Upon Seclusion
       (On Behalf of Plaintiff and All Nationwide Class Members Against PBI)

       137.   Plaintiff realleges and incorporates by reference the preceding paragraphs

as though fully set forth herein.



                                              -49-
          CASE
           Case 0:23-cv-02238-KMM-DTS
                MDL No. 3083 Document 104-3
                                      Doc. 1 Filed
                                              Filed08/02/23
                                                    07/27/23 Page
                                                              Page52
                                                                   50ofof60
                                                                          58




       138.    To assert claims for intrusion upon seclusion, one must plead (1) that the

defendant intentionally intruded into a matter as to which plaintiff had a reasonable

expectation of privacy; and (2) that the intrusion was highly offensive to a reasonable

person.

       139.    PBI intentionally intruded upon the solitude, seclusion and private affairs of

Plaintiff and Class Members by intentionally configuring their systems in such a way that

left them vulnerable to malware/ransomware attack, thus permitting unauthorized access

to their systems, which compromised Plaintiff’s and Class Members’ personal

information. Only PBI had control over its systems.

       140.    PBI’s conduct is especially egregious and offensive as they failed to have

adequate security measures in place to prevent, track, or detect in a timely fashion

unauthorized access to Plaintiff’s and Class Members’ personal information.

       141.    At all times, PBI was aware that Plaintiff’s and Class Members’ personal

information in their possession contained highly sensitive and confidential personal

information.

       142.    Plaintiff and Class Members have a reasonable expectation of privacy in

their personal information, which also contains highly sensitive medical information.

       143.    PBI intentionally configured their systems in such a way that stored

Plaintiff’s and Class Members’ personal information to be left vulnerable to

malware/ransomware attack without regard for Plaintiff’s and Class Members’ privacy

interests.



                                            -50-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page53
                                                                 51ofof60
                                                                        58




       144.      The disclosure of the sensitive and confidential personal information of

thousands of consumers, was highly offensive to Plaintiff and Class Members because it

violated expectations of privacy that have been established by general social norms,

including by granting access to information and data that is private and would not

otherwise be disclosed.

       145.      PBI’s conduct would be highly offensive to a reasonable person in that it

violated statutory and regulatory protections designed to protect highly sensitive

information, in addition to social norms. PBI’s conduct would be especially egregious to

a reasonable person as PBI publicly disclosed Plaintiff’s and Class Members’ sensitive

and confidential personal information without their consent, to an “unauthorized person,”

i.e., hackers.

       146.      As a result of PBI’s actions, Plaintiff and Class Members have suffered

harm and injury, including but not limited to an invasion of their privacy rights.

       147.      Plaintiff and Class Members have been damaged as a direct and proximate

result of PBI’s intrusion upon seclusion and are entitled to just compensation.

       148.      Plaintiff and Class Members are entitled to appropriate relief, including

compensatory damages for the harm to their privacy, loss of valuable rights and

protections, and heightened stress, fear, anxiety and risk of future invasions of privacy.

                                    COUNT VIII
                     Invasion of Privacy – Cal. Const. Art. 1, § 1
       (On Behalf of Plaintiff and All Nationwide Class Members Against PBI)

       149.      Plaintiff realleges and incorporates by reference the preceding paragraphs

as though fully set forth herein.
                                             -51-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page54
                                                                52ofof60
                                                                       58




       150.   Art. I, § 1 of the California Constitution provides: “All people are by nature

free and independent and have inalienable rights. Among these are enjoying and

defending life and liberty, acquiring, possessing, and protecting property, and pursuing

and obtaining safety, happiness, and privacy.” Art. I, § 1, Cal. Const.

       151.   The right to privacy in California’s constitution creates a private right of

action against private and government entities.

       152.   To state a claim for invasion of privacy under the California Constitution, a

plaintiff must establish: (1) a legally protected privacy interest; (2) a reasonable

expectation of privacy; and (3) an intrusion so serious in nature, scope, and actual or

potential impact as to constitute an egregious breach of the social norms.

       153.   PBI violated Plaintiff’s and California Subclass Members’ constitutional

right to privacy by collecting, storing, and disclosing their personal information in which

they had a legally protected privacy interest, and in which they had a reasonable

expectation of privacy in, in a manner that was highly offensive to Plaintiff and

California Subclass Members, would be highly offensive to a reasonable person, and was

an egregious violation of social norms.

       154.   PBI has intruded upon Plaintiff’s and California Subclass Members’ legally

protected privacy interests, including interests in precluding the dissemination or misuse

of their confidential personal information.

       155.   PBI’s actions constituted a serious invasion of privacy that would be highly

offensive to a reasonable person in that: (i) the invasion occurred within a zone of privacy

protected by the California Constitution, namely the misuse of information gathered for
                                              -52-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page55
                                                                53ofof60
                                                                       58




an improper purpose; and (ii) the invasion deprived Plaintiff and California Subclass

Members of the ability to control the circulation of their personal information, which is

considered fundamental to the right to privacy.

       156.   Plaintiff and California Subclass Members had a reasonable expectation of

privacy in that: (i) PBI’s invasion of privacy occurred as a result of PBI’s security

practices including the collecting, storage, and unauthorized disclosure of consumers’

personal information; (ii) Plaintiff and California Subclass Members did not consent or

otherwise authorize PBI to disclosure their personal information; and (iii) Plaintiff and

California Subclass Members could not reasonably expect PBI would commit acts in

violation of laws protecting privacy.

       157.   As a result of PBI’s actions, Plaintiff and California Subclass Members

have been damaged as a direct and proximate result of PBI’s invasion of their privacy

and are entitled to just compensation.

       158.   Plaintiff and California Subclass Members suffered actual and concrete

injury as a result of PBI’s violations of their privacy interests. Plaintiff and California

Subclass Members are entitled to appropriate relief, including damages to compensate

them for the harm to their privacy interests, loss of valuable rights and protections,

heightened stress, fear, anxiety, and risk of future invasions of privacy, and the mental

and emotional distress and harm to human dignity interests caused by Defendants’

invasions.

       159.   Plaintiff and California Subclass Members seek appropriate relief for that

injury, including but not limited to damages that will reasonably compensate Plaintiff and
                                           -53-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page56
                                                                 54ofof60
                                                                        58




California Subclass Members for the harm to their privacy interests as well as

disgorgement of profits made by PBI as a result of its intrusions upon Plaintiff’s and

California Subclass Members’ privacy.

                                      COUNT IX
                              Breach of Implied Contract
       (On Behalf of Plaintiff and All Nationwide Class Members Against PBI)

       160.   Plaintiff realleges and incorporates by reference the preceding paragraphs

as though fully set forth herein.

       161.   Through its course of conduct, PBI, Plaintiff and Class Members entered

into implied contracts for PBI to implement data security adequate to safeguard and

protect the privacy of Plaintiff’s and Class Members’ PII.

       162.   PBI required Plaintiff and Class Members to provide and entrust their PII as

a condition of obtaining Defendants’ services for pension management services through

CalPERS and CalSTRS.

       163.   PBI solicited and invited Plaintiff and Class Members to provide their PII

as part of Defendants’ regular business practices. Plaintiff and Class Members accepted

Defendants’ offers and provided their PII to Defendants for pension management services

through CalPERS and CalSTRS.

       164.   Plaintiff and Class Members provided and entrusted their PII to

Defendants. In so doing, Plaintiff and Class Members entered into implied contracts with

Defendants by which Defendants agreed to safeguard and protect such non-public

information, to keep such information secure and confidential, and to timely and



                                           -54-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page57
                                                                 55ofof60
                                                                        58




accurately notify Plaintiff and Class Members if its data had been breached and

compromised or stolen.

       165.   A meeting of the minds occurred when Plaintiff and Class Members agreed

to, and did, provide their PII to Defendants, in exchange for, amongst other things, the

protection of their PII.

       166.   Plaintiff and Class Members fully performed their obligations under the

implied contracts with Defendants.

       167.   Defendants breached the implied contracts it made with Plaintiff and Class

Members by failing to safeguard and protect their PII and by failing to provide timely and

accurate notice to them that their PII was compromised as a result of the Data Breach.

       168.   As a direct and proximate result of Defendants’ above-described breach of

implied contract, Plaintiff and Class Members have suffered (and will continue to suffer)

(a) ongoing, imminent, and impending threat of identity theft crimes, fraud, and abuse,

resulting in monetary loss and economic harm; (b) actual identity theft crimes, fraud, and

abuse, resulting in monetary loss and economic harm; (c) loss of the confidentiality of the

stolen confidential data; (d) the illegal sale of the compromised data on the dark web; (e)

lost work time; and (f) other economic and non-economic harm.

                                      COUNT X
         Breach of the Implied Covenant of Good Faith and Fair Dealing
       (On Behalf of Plaintiff and All Nationwide Class Members Against PBI)

       169.   Plaintiff realleges and incorporates by reference the preceding paragraphs

as though fully set forth herein.



                                           -55-
       CASE
        Case 0:23-cv-02238-KMM-DTS
             MDL No. 3083 Document 104-3
                                   Doc. 1 Filed
                                           Filed08/02/23
                                                 07/27/23 Page
                                                           Page58
                                                                56ofof60
                                                                       58




       170.    Every contract in this state has an implied covenant of good faith and fair

dealing. This implied covenant is an independent duty and may be breached even

when there is no breach of a contract’s actual and/or express terms.

       171.    Plaintiff and Class Members have complied with and performed all

conditions of their contracts with Defendants.

       172.    Defendants breached the implied covenant of good faith and fair dealing

by failing to maintain adequate computer systems and data security practices to

safeguard PII, failing to timely and accurately disclose the Data Breach to Plaintiff and

Class Members and continued acceptance of PII and storage of other personal

information after Defendants knew, or should have known, of the security vulnerabilities

of the systems that were exploited in the Data Breach.

       Defendants acted in bad faith and/or with malicious motive in denying Plaintiff

and Class Members the full benefit of their bargains as originally intended by the

parties, thereby causing them injury in an amount to be determined at trial.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of themselves, the Nationwide Class and the

California Subclass, prays for the following relief:

       1.     An order certifying the nationwide Class and California Subclass as defined

              above pursuant to Fed. R. Civ. P. 23 and declaring that Plaintiff is a proper

              class representative and appointing Plaintiff’s counsel as class counsel;

       2.     Permanent injunctive relief to prohibit PBI from continuing to engage in the

              unlawful acts, omissions, and practices described herein;
                                             -56-
CASE
 Case 0:23-cv-02238-KMM-DTS
      MDL No. 3083 Document 104-3
                            Doc. 1 Filed
                                    Filed08/02/23
                                          07/27/23 Page
                                                    Page59
                                                         57ofof60
                                                                58




3.    Compensatory, consequential, general, and nominal damages in an amount to

      be proven at trial, in excess of $5,000,000;

4.    Disgorgement and restitution of all earnings, profits, compensation, and

      benefits received as a result of the unlawful acts, omissions, and practices

      described herein;

5.    Punitive, exemplary, and/or trebled damages to the extent permitted by law;

6.    Plaintiff intends to amend this complaint to seek statutory damages on behalf

      of the California subclass upon expiration of the 30-day cure period pursuant

      to Cal. Civ. Code § 1798.150(b);

7.    A declaration of right and liabilities of the parties;

8.    Costs of suit;

9.    Reasonable attorneys’ fees, including pursuant to Cal. Civ. Pro. Code §

      1021.5;

10.   Pre- and post-judgment interest at the maximum legal rate;

11.   Distribution of any monies recovered on behalf of members of the class or

      the general public via fluid recovery or cy pres recovery where necessary and

      as applicable to prevent Defendants from retaining the benefits of their

      wrongful conduct; and

12. Such other relief as the Court deems just and proper.




                                       -57-
        CASE
         Case 0:23-cv-02238-KMM-DTS
              MDL No. 3083 Document 104-3
                                    Doc. 1 Filed
                                            Filed08/02/23
                                                  07/27/23 Page
                                                            Page60
                                                                 58ofof60
                                                                        58



                               DEMAND FOR JURY TRIAL
       Plaintiff, on behalf of herself and the putative class and subclass, hereby demand a
trial by jury on all issues of fact or law so triable.
                                             Respectfully submitted,
Dated: July 27, 2023                  By:      /s/ Karen H. Riebel
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                                               the Putative Class




                                               -58-
